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              EXHIBIT B
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c12)   United States Patent                                                   (10)    Patent No.:     US             10,298,451 Bl
       Koss et al.                                                            (45)    Date of Patent:                   *May 21, 2019

(54)   CONFIGURING WIRELESS DEVICES FOR A                             (56)                          References Cited
       WIRELESS INFRASTRUCTURE NETWORK
                                                                                           U.S. PATENT DOCUMENTS
(71)   Applicant: Koss Corporation, Milwaukee, WI
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                                                                                                      (Continued)
(72)   Inventors: Michael J. Koss, Milwaukee, WI (US);
                  Michael J. Pelland, Princeton, WI
                                                                                        FOREIGN PATENT DOCUMENTS
                  (US); Joel L. Haynie, DeForest, WI
                  (US)                                                WO              WO 2013/151878 Al       10/2013

(73)   Assignee: KOSS CORPORATION, Milwaukee,
                                                                                               OTHER PUBLICATIONS
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                    U.S.C. 154(b) by O days.                          music/, May 14, 2012.
                    This patent is subject to a terminal dis-                                         (Continued)
                    claimer.
                                                                      Primary Examiner - Jae Y Lee
(21)   Appl. No.: 16/057,360
                                                                      (74) Attorney, Agent, or Firm - K&L Gates LLP
(22)   Filed:       Aug. 7, 2018
                                                                      (57)                            ABSTRACT
                Related U.S. Application Data
                                                                      Systems and methods permit a wireless device to receive
(63)   Continuation of application No. 15/927,262, filed on           data wirelessly via an infrastructure wireless network, with-
       Mar. 21, 2018, now Pat. No. 10,079,717, which is a             out physically connecting the wireless device to a computer
                        (Continued)                                   in order to configure it, and without having an existing
                                                                      infrastructure wireless network for the wireless device to
(51)   Int. Cl.                                                       connect to. A remote server hosts a website that permits a
       H04L 12124              (2006.01)                              user of the wireless device to input via a computer credential
       H04W24/02               (2009.01)                              data for at least one infrastructure wireless network. The
                         (Continued)                                  content access point transmits the credential data for the at
(52)   U.S. Cl.                                                       least one infrastructure wireless network to the wireless
       CPC .......... H04L 4110806 (2013.01); G06F 3/165              device via the ad hoc wireless network, such that, upon
                       (2013.01); H04L 61/2007 (2013.01);             receipt of the credential data for the at least one infrastruc-
                         (Continued)                                  ture wireless network, the wireless device is configured to
                                                                      connect to the at least one infrastructure wireless network.
(58)   Field of Classification Search
       CPC ..... H04L 41/0806; H04L 67/42; H04W 84/18
       See application file for complete search history.                                   21 Claims, 4 Drawing Sheets



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              Related U.S. Application Data                    (56)                     References Cited
       continuation of application No. 15/463,559, filed on                        U.S. PATENT DOCUMENTS
       Mar. 20, 2017, now Pat. No. 9,992,061, which is a
       continuation of application No. 15/080,940, filed on            8,336,080   B2   12/2012 Herrod
       Mar. 25, 2016, now Pat. No. 9,629,190, which is a               9,002,044   B2    4/2015 Dinescu et al.
       continuation of application No. 14/850,508, filed on            9,060,288   B2    6/2015 Pelland et al.
       Sep. 10, 2015, now Pat. No. 9,326,304, which is a               9,185,168   B2   11/2015 Pelland et al.
       continuation of application No. 14/702,316, filed on            9,326,304   B2    4/2016 Pelland et al.
       May 1, 2015, now Pat. No. 9,185,168, which is a                 9,629,190   Bl    4/2017 Koss et al.
       continuation of application No. 13/832,719, filed on        2004/0204743    Al* 10/2004 McGrath .................. A61N 1/08
       Mar. 15, 2013, now Pat. No. 9,060,288.                                                                                 607/5
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       H04W 76111               (2018.01)                                           OTHER PUBLICATIONS
       H04W 84/18               (2009.01)
       H04L 29/06               (2006.01)                      Robson, W., "Koss Striva MyKoss Wi-Fi Streaming-Tips and
(52)   U.S. Cl.                                                Tricks," http://www.audioholics.com/headphone-reviews/koss-striva-
       CPC ............ H04L 67112 (2013.01); H04L 671125      pro-wi-fi-headphone-review/mykoss-wi-fi-streaming-2013-tips-and-
                  (2013.01); H04W 8/005 (2013.01); H04W        tricks/, Jul. 3, 2012.
                      8/26 (2013.01); H04W 12108 (2013.01);    Robson, W., "Interview: Michael J. Koss Introduces Striva Wi-Fi
                        H04W 24102 (2013.01); H04W 72104       Headphones," http://www.audioholics.com/editorials/michael-j .-ko ss-
                  (2013.01); H04W 76110 (2018.02); H04W        striva/, Jun. 7, 2012.
                      76111 (2018.02); H04L 67/42 (2013.01);
                                       H04W 84/18 (2013.01)    * cited by examiner
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                                                       Fig. 1



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                                     REMOTE
                                    SERVER(S)
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                      48
                                                      VOLATILE
                                                      MEMORY
              USS            PROCESSOR                                    16


                                                   NON.VOLATILE
                                                     MEMORY
                46
                              RF MODULE
                                                    44




   Fig. 2




                                                          60
                        CREATE USER ACCOUNT AT
                               WEBSITE



                                                          62

                            ADD WI-Fl HOTSPOT(S)




                                                          64

      Fig. 3                ADD END-USER DEVICE




                                                          66

                           UPDATE END-USER DEVICE




                                                          68

                              SET UP CHANNELS
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                                                                                                                        Fig. 4



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                                                                         REMOTE
                                                                        SERVER(S)
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                                                                          Fig. 5




                                                      REMOTE
                                                     SERVER(S)
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   CONFIGURING WIRELESS DEVICES FOR A                                   at least one infrastructure wireless network, the wireless
   WIRELESS INFRASTRUCTURE NETWORK                                      device is configured to connect to the at least one infrastruc-
                                                                        ture wireless network. That way, the wireless device can
                     PRIORITY CLAIM                                     connect to the infrastructure wireless network without hav-
                                                                   5    ing to have been plugged into the computer, and without
   The present application claims priority under 35 U.S.C. §            having to have been connected to another, different infra-
120 as a continuation application to U.S. nonprovisional                structure wireless network.
patent application Ser. No. 15/927,262, filed Mar. 21, 2018,               In another general aspect, the present invention is directed
which is a continuation of U.S. nonprovisional patent appli-            to a method of configuring a wireless media player to
cation Ser. No. 15/463,559, filed Mar. 20, 2017, now U.S.          10   communicate via an infrastructure wireless network. In
Pat. No. 9,992,061, issued Jun. 5, 2018, which is a continu-            various implementations, the method comprises, prior to
ation of U.S. nonprovisional patent application Ser. No.                connecting the wireless media player to the infrastructure
15/080,940, filed Mar. 25, 2016, now U.S. Pat. No. 9,629,               wireless network, the steps of: storing an IP address for the
190, issued Apr. 18, 2017, which is a continuation of U.S.              wireless media player in a non-volatile memory of a separate
nonprovisional patent application Ser. No. 14/850,508, filed       15   content access point device; connecting the content access
Sep. 10, 2015, now U.S. Pat. No. 9,326,304, issued Apr. 26,             point device to a computer that is configured to communi-
2016, which is a continuation of U.S. nonprovisional patent             cate with a remote server via the Internet; uploading the IP
application Ser. No. 14/702,316, filed May 1, 2015, now                 address for the wireless media player stored in the non-
U.S. Pat. No. 9,185,168, issued Nov. 10, 2015, which is a               volatile memory of the content access point device to the
continuation of U.S. nonprovisional patent application Ser.        20   remote server from the computer and the Internet; receiving
No. 13/832,719, filed Mar. 15, 2013, now U.S. Pat. No.                  by the remote server credential data for the infrastructure
9,060,288, issued Jun. 16, 2015, both of which are incor-               wireless network from a user; and transmitting, by the
porated herein by reference in their entirety.                          content access point, the credential data for the infrastructure
                                                                        wireless network to the wireless media player via an ad hoc
                      BACKGROUND                                   25   wireless network between the content access point device
                                                                        and the wireless media player. The inventive method further
   Wireless earphones that stream digital-audio content from            comprises, after the wireless media player receives the
sources are known. For example, U.S. Pat. No. 8,190,203,                credential data for the infrastructure wireless network from
which is incorporated herein by reference in its entirety,              the content access point device via the ad hoc wireless
describes a wireless earphone pair where each earphone is          30   network, the step of the wireless media player connecting to
capable of receiving and playing digital-audio streamed over            the infrastructure wireless network using the received cre-
ad-hoc or infrastructure Wi-Fi networks. This patent also               dential data for the infrastructure wireless network.
describes that the source of the digital-audio content could               These and other benefits and aspects of the present
be a wireless network adapter that plugs into an audio player           invention are described below.
(such as a personal digital audio player (DAP)) and trans-         35
mits the audio from the audio player to the earphones via a                     BRIEF DESCRIPTION OF THE FIGURES
Wi-Fi ad hoc network. Also, the earphones may connect to,
and stream digital-audio content from, a remote server                     Various embodiments of the present invention are
through the Internet via an infrastructure Wi-Fi network.               described herein by way of example in conjunction with the
                                                                   40   following figures, wherein:
                         SUMMARY                                           FIGS. 1, 4 and 5 are diagrams of systems according to
                                                                        various embodiments of the present invention;
   In various embodiments, the present invention is directed               FIG. 2 is simplified block diagram of the content access
to systems and methods for configuring a wireless device to             point according to various embodiments of the present
receive data wirelessly via an infrastructure wireless net-        45   invention; and
work, without physically connecting the wireless device to                 FIG. 3 is a flow chart depicting a process of a system
a computer in order to configure it, and without having a               according to various embodiments of the present invention.
have an existing infrastructure wireless network for the
wireless device to connect to. The wireless device could be                                    DESCRIPTION
for example a wireless media player ( such as an audio player      50
or a video player), a wireless controller for electronic                   Various embodiments of the present invention are directed
equipment, or any device that receives wireless data.                   to systems and methods for configuring a wireless device to
   According to various embodiments, a system according to              communicate via an infrastructure wireless network, such as
the present invention comprises: the wireless device config-            an infrastructure Wi-Fi network, without having to physi-
ured to receive data wirelessly; a content access point that       55   cally plug the wireless device into a computer to configure
communicates with the wireless device via an ad hoc                     it, and without having to have an existing infrastructure
wireless network; a computer that is connectable to the                 wireless connection for the wireless device. In the descrip-
content access point; and a remote server in communication              tion to follow, the wireless device is usually described as a
with the computer via a communications network (e.g., the               wireless audio player, e.g., a set of earphones, although it
Internet). The remote server hosts a website, accessible by        60   should be recognized that the present invention is not so
the computer, through which a user of the wireless device               limited. The wireless device could be another type of media
inputs, via the computer, credential data for at least one              player, such as a wireless video player, or another type of
infrastructure wireless network, and the remote server stores           device that receives data wirelessly. For example, the wire-
the credential data. Also, the content access point transmits           less device could be a controller for electronic equipment,
the credential data for the at least one infrastructure wireless   65   such as a controller for lighting systems, cameras, machin-
network to the wireless device via the ad hoc wireless                  ery, gaming equipment, etc., that receives control data via a
network, such that, upon receipt of the credential data for the         wireless communication link.
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   FIG. 1 is a diagram of a system 10 according to various            digital content. In such an embodiment, a headband between
embodiments of the present invention. The system 10 com-              the earphones is not necessary. More details regarding such
prises an earphone set 12 comprising a pair of earphones 14,          wireless earphone pairs are described in the following
one for each ear of a user. One or both of the earphones 14           patents and patent applications, which are incorporated
may communicate wirelessly with a content access point           5    herein by reference in their entirety: U.S. Pat. No. 8,190,
(CAP) 16 via an ad hoc communication link 18, which is                203; U.S. Pub. No. 2012/0230510 Al; and U.S. nonprovi-
preferably an ad hoc Wi-Fi link (e.g., IEEE 802.lla/b/g/n),           sional application Ser. No. 13/441,476, filed Apr. 6, 2012,
although in other embodiments different wireless commu-               now Pub. No. 2013/0266152. These patents and patent
nication protocols may be used, such as WiMAX (IEEE                   applications also include simplified block diagrams of the
802.16), Bluetooth, Zigbee, UWB, etc. The ad hoc commu-          10   earphones 14 according to various embodiments. As dis-
nication link 18 is an ad hoc wireless network because it is          closed in these patents and patent applications, the ear-
a point-to-point network (in this case, the CAP 16 to the             phones 14 have one or more acoustic transducers for pro-
wireless device 14) that does not utilize preexisting infra-          ducing sound.
structure, such as wireless access points. In such an ad hoc             FIG. 2 is simplified block diagram of the CAP 16 accord-
network, the devices (e.g., the CAP 16 and the wireless          15   ing to various embodiments of the present invention. As
device 14) may have equal status on the network.                      shown in FIG. 2, the CAP 16 may comprise a processor 40,
   The CAP 16 is connectable, through, for example, a wired           a volatile memory 42, a nonvolatile memory 44, a RF (or
connection, to a source of digital audio that stores and plays        radio or Wi-Fi) module 46 and a USB port 48 or other
digital audio files, such as MP3, FLAC, etc. files. The source        suitable external interface that allows the CAP 16 to connect
may be, as shown in FIG. 1, a personal DAP 20 or a               20   to an external device, such as the DAP 20 or the computer
computer 22, for example, although in other embodiments               22. The CAP 16 may also include a chargeable power source
other media source devices may be used. The personal DAP              (not shown) for powering the components of the CAP 16.
20 may be a personal MP3 player, iPod, iPhone, etc., or any           The RF module 46 may handle radio/wireless communica-
other personal electronic device capable of storing and               tions by the CAP 16. For example, the RF module 46 may
playing digital audio files. The computer 22 may be any          25   allow the CAP to communicate via a wireless communica-
suitable computer device, such as a personal computer,                tion protocol, preferably Wi-Fi, with the earphones 14 or the
laptop computer, tablet computer, smart phone, etc., and              wireless access point 24. The memory units 42, 44 may store
preferably has a browser to facilitate initializing the CAP 16        software instructions for execution by the processor 40 that
and earphones 14, as described further below. The CAP 16              control the function and operation of the CAP 16. In
may connect to the DAP 20 via a USB connector (not               30   addition, in various embodiments, the earphones 14 and
shown) that connects to a USB port (e.g., conventional,               CAP 16 are part of a conjoined assembly, such that the CAP
mini, and micro) of the CAP 16 and to an audio jack on the            16 is configured at manufacture to know the identifiers for
DAP 20, such as a 3.5 mm TRS or TRRS audio jack. The                  the earphones 14. That is, the non-volatile memory 44 may
CAP 16 may connect to the computer 22 via a USB                       store addresses (e.g., IP addresses) for the earphones 14.
connection (not shown). Also, the CAP 16 may be an               35      In various embodiments, in order to initially operate the
integral part of the DAP 20 or the computer 22. As shown              earphones 14 (e.g., "out of the box"), the CAP 16 may be
in FIG. 1, the earphones 14 may also connect to a wireless            plugged into the desired media device (e.g., the DAP 20 or
access point 24 via a wireless infrastructure communication           the computer 22) as described above, which may power the
link 26, that is again preferably a Wi-Fi link, although other        CAP 16 and cause the CAP 16 to transmit (or stream)
wireless protocols could be used. The wireless infrastructure    40   wirelessly the content output by the media device, which can
communication link 26 may be part of an infrastructure                be received (via the ad hoc wireless communication link 18)
wireless network because it utilizes a wireless access point          and played by the earphones 14 (assuming the earphones 14
24 and connects to an Internet service provider (e.g., a Wi-Fi        are turned on), since the CAP 16 is initially configured to
hotspot).                                                             store the addresses for the earphones 14, as described above.
   Both the computer 22 and the wireless access point 24         45      As described above, the earphones 14 can, when properly
may be connected to a communications network 28, which                configured, also receive wireless content via infrastructure
is preferably an electronic, packet-switched, data commu-             networks. FIG. 3 is a flow chart of a process for setting up
nications network, such as a TCP/IP network, such as the              and customizing the channels and streams for the earphones
Internet. Numerous servers are connected to the Internet;             14, including adding and managing wireless networks (e.g.,
one remote server system 30 is shown in FIG. 1. As               50   Wi-Fi hotspots) according to various embodiments. At step
described further below, a user may connect to the remote             60, the user (e.g., a user of the earphones 14), using the
server system 30 to provision or initialize the user's CAP 16         Internet-enabled computer 22 with a browser, logs into a
and earphones 14 for initial use, and to otherwise manage             website associated with the earphones 14, hosted by the
the CAP 16 and earphones 14. The remote server system 30              remote server(s) 30, and sets up an account (if the user does
may also stream digital audio content to the earphones 14 via    55   not already have one). At the website the user can, for
the infrastructure wireless network 26, although the ear-             example, add Wi-Fi hotspots and specify content charmels
phones 14 may also stream digital content from other servers          (e.g., Internet radio stations or other servers connected to the
connected to the communications network 28 once config-               Internet that serve content). To add a Wi-Fi hotspot at step
ured to communicate via the infrastructure wireless network           62, the user may click (or otherwise activate) a link on the
26, as described below.                                          60   website that indicates a desire to add a Wi-Fi hotspot. In
   In FIG. 1, the earphone set 12 includes a headband 32              various embodiments, a JAVA applet from the website may
connecting the earphones 14. In such an embodiment, one               be used by the computer 22 to search for nearby Wi-Fi
earphone 14 may receive the wireless digital content and              hotspots, which, upon detection, may be displayed for the
transmit it to the other earphone 14 for synchronized playing         user on the website. The user may then click on (or other-
via a wire that runs through the head band to connect the        65   wise select) the desired Wi-Fi hotspot to add. If applicable,
earphones 14. In other embodiments, both earphones 14 may             the website may then prompt the user to enter a password
receive wirelessly and play synchronously the streaming               and/or encryption type (e.g., WPA or WPA2) for the selected
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Wi-Fi hotspot. The SSID, password, and encryption type for              capable of receiving and playing received digital video
the Wi-Fi hotspot is stored for the user's account by the               content, such as MPEG video, for example. The video player
remote server(s) 30. This process could be repeated as                  80 may stream the video content from the CAP 16 (and
necessary to add as many Wi-Fi hotspots as desired by the               hence the media source connected to the CAP 16) via the ad
user.                                                              5    hoc wireless communication link 18 or via the infrastructure
   Next, at step 64, a user device, e.g., the earphone set 12,          wireless communication link 26, as described above. Also,
may be added to the user's account. The user may do this,               the video player 80 could be configured with the Wi-Fi
according to various embodiments, by plugging the CAP 16                hotspot credentials as described above in connection with
into the computer 22. Using a JAVA applet, for example, the             FIG. 3.
IDs for the CAP 16, as well as the IDs for the earphones 14,       10      Similarly, as shown in FIG. 5, the wireless device could
stored in the non-volatile memory 44 of the CAP 16, are                 be a controller 82 that controls the operation and/or function
uploaded to the remote server(s) 30 and stored at the remote            of electronic equipment 84, such as lighting system(s),
server(s) 30 as part of the user's account information. Next,           camera(s), manufacturing equipment, medical device(s),
at step 66, the user may update the earphones 14 with the               gaming systems, or any other suitable controllable electronic
Wi-Fi hotspot credentials (e.g., SSID, password if one is          15   equipment. The controller 82 may receive control data via
used for the hotspot, and/or encryption type). The user may             either the ad hoc or infrastructure wireless networks,
do this by clicking on or otherwise selecting a link on the             depending on which mode the controller 82 is in. As
website to update the earphones 14. Upon clicking the link,             described above, the controller 82 may be configured to
the CAP 16 transmits the credentials (e.g., SSID, password,             connect to the infrastructure wireless network 26 by receiv-
encryption type) for each of the added Wi-Fi hotspots to the       20   ing the credential data for the infrastructure wireless net-
earphones 14, via the ad hoc wireless communication link                work 26 via the ad hoc wireless network 18.
18. This process allows the earphones 14 to be configured                  In one general aspect, the present invention is directed to
for infrastructure network (and Internet) access without                a system that comprises: the wireless device configured to
having to physically connect the earphones 14 to the com-               receive data wirelessly; a content access point that commu-
puter 22 to configure them and without having an existing,         25   nicates with the wireless device via an ad hoc wireless
different infrastructure network that the earphones 14 need             network; a computer that is connectable to the content
to connect to.                                                          access point; and a remote server in communication with the
   The user may also set up charmels for the earphones 14 at            computer via a communications network. The remote server
step 68 through the website. The user may do this by                    hosts a web site accessible by the computer. The website
clicking on or otherwise selecting a link or option provided       30   permits a user of the wireless device to input via the
by the website to add charmels. The channels may be digital             computer credential data for at least one infrastructure
content streams, such as digital audio. The remote server(s)            wireless network, and the remote server stores the credential
30 may host a number of such content streams that the user              data for the at least one infrastructure wireless network.
could select via the website. These selections may be stored            Also, the content access point transmits the credential data
by the remote server(s) 30 as part of the user's account           35   for the at least one infrastructure wireless network to the
information. Also, the user could enter an address for a                wireless device via the ad hoc wireless network, such that,
channel(s), associated with another server(s) connected to              upon receipt of the credential data for the at least one
the network 28, such as the URL for channel's server. These             infrastructure wireless network, the wireless device is con-
addresses may also be stored by the remote server(s) 30 as              figured to connect to the at least one infrastructure wireless
part of the user's account information.                            40   network.
   The earphones 14 may have one or more multi-function                    In various implementations, the wireless device com-
user controls (e.g., buttons, touch interfaces, etc.) and indi-         prises a wireless media player, such as an audio player or a
cators (e.g., LEDs) that allow the user to select and transition        video player. The wireless media player may be configured
through various modes of operation. For example, using the              to receive and play digital media data received via the ad hoc
user control(s) of the earphones 14, the user could select an      45   wireless network when in a first mode (an ad hoc mode), and
ad hoc mode, whereby the earphones stream and play                      is configured to receive and play digital media data received
content from the CAP 16 (and hence the device to which the              via the infrastructure wireless network when in a second
CAP 16 is connected, such as the DAP 20 or the computer                 mode (an infrastructure mode). In other embodiments, the
22). Also, the user could select the infrastructure (e.g.,              wireless device may comprise a wireless controller that
Wi-Fi) mode using the user control(s) in order to stream           50   controls electronic equipment. The wireless controller may
content via Wi-Fi hotspot. The user may also cycle through              be configured to receive digital control data received via the
or otherwise select the desired channel (stored in step 68)             ad hoc wireless network when in a first mode (an ad hoc
using the user-control.                                                 mode), and is configured to receive digital control data
   It should be noted that the some steps of FIG. 3 could be            received via the infrastructure wireless network when in a
performed in different orders than as shown in FIG. 3. For         55   second mode (an infrastructure mode). In various embodi-
example, the user's channels could be set up before the                 ments, the ad hoc wireless network comprises an ad hoc
Wi-Fi hotspots are added or before the user's earphones 14              Wi-Fi network, and the infrastructure wireless network
are added. However, the earphones 14 could not be updated               comprises an infrastructure Wi-Fi network. The credential
with the Wi-Fi hotspot credentials (step 66) until the Wi-Fi            data for the at least one infrastructure wireless network may
hotspot(s) and earphones are added (steps 62 and 64).              60   comprise: an identifier for the at least one infrastructure
   Although the above embodiments were described in the                 wireless network; a password for the at least one infrastruc-
context of wireless earphones for receiving and playing                 ture wireless network; and/or encryption type data for the at
digital audio content, in other embodiments different types             least one infrastructure wireless network.
of the digital content could be streamed to the wireless                   It will be apparent to one of ordinary skill in the art that
device in a similar marmer. For example, instead of ear-           65   at least some of the embodiments described herein may be
phones, a video player 80, as shown in FIG. 4 could be used             implemented in many different embodiments of software,
instead. The video player 80 may be any video player                    firmware, and/or hardware. The software and firmware code
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may be executed by a processor circuit or any other similar           blades) that are located and configured for cooperative
computing device. The software code or specialized control            functions. It can be appreciated that a server farm may serve
hardware that may be used to implement embodiments is not             to distribute workload between/among individual compo-
limiting. For example, embodiments described herein may               nents of the farm and may expedite computing processes by
be implemented in computer software using any suitable           5    harnessing the collective and cooperative power of multiple
computer software language type, using, for example, con-             servers. Such server farms may employ load-balancing
ventional or object-oriented techniques. Such software may            software that accomplishes tasks such as, for example,
be stored on any type of suitable computer-readable medium            tracking demand for processing power from different
or media, such as, for example, a magnetic or optical storage         machines, prioritizing and scheduling tasks based on net-
medium. The operation and behavior of the embodiments            10   work demand and/or providing backup contingency in the
may be described without specific reference to specific               event of component failure or reduction in operability.
software code or specialized hardware components. The                    The computer systems may comprise one or more pro-
absence of such specific references is feasible, because it is        cessors in communication with memory (e.g., RAM or
clearly understood that artisans of ordinary skill would be           ROM) via one or more data buses. The data buses may carry
able to design software and control hardware to implement        15   electrical signals between the processor(s) and the memory.
the embodiments based on the present description with no              The processor and the memory may comprise electrical
more than reasonable effort and without undue experimen-              circuits that conduct electrical current. Charge states of
tation.                                                               various components of the circuits, such as solid state
   Moreover, the processes associated with the present                transistors of the processor(s) and/ or memory circuit( s), may
embodiments may be executed by progranimable equip-              20   change during operation of the circuits.
ment, such as computers or computer systems and/or pro-                  While various embodiments have been described herein,
cessors. Software that may cause programmable equipment               it should be apparent that various modifications, alterations,
to execute processes may be stored in any storage device,             and adaptations to those embodiments may occur to persons
such as, for example, a computer system (nonvolatile)                 skilled in the art with attainment of at least some of the
memory, an optical disk, magnetic tape, or magnetic disk.        25   advantages. The disclosed embodiments are therefore
Furthermore, at least some of the processes may be pro-               intended to include all such modifications, alterations, and
grammed when the computer system is manufactured or                   adaptations without departing from the scope of the embodi-
stored on various types of computer-readable media.                   ments as set forth herein.
   It can also be appreciated that certain process aspects               What is claimed is:
described herein may be performed using instructions stored      30      1. A system comprising:
on a computer-readable medium or media that direct a                     a wireless access point;
computer system to perform the process steps. A computer-                an electronic device;
readable medium may include, for example, memory                         a mobile computer device that is in communication with
devices such as diskettes, compact discs (CDs), digital                     the electronic device via an ad hoc wireless communi-
versatile discs (DVDs), optical disk drives, or hard disk        35         cation link; and
drives. A computer-readable medium may also include                      one or more host servers that are in communication with
memory storage that is physical, virtual, permanent, tempo-                 the mobile computer device via the Internet, wherein
rary, semipermanent, and/or semitemporary.                                  the one or more host servers receive and store creden-
   A "computer," "computer system," "host," "server," or                    tial data for an infrastructure wireless network provided
"processor" may be, for example and without limitation, a        40         by the wireless access point,
processor, microcomputer, minicomputer, server, main-                    wherein:
frame, laptop, personal data assistant (PDA), wireless e-mail               the mobile computer device is for transmitting to the
device, cellular phone, pager, processor, fax machine, scan-                   electronic device, wirelessly via the ad hoc wireless
ner, or any other programmable device configured to trans-                     communication link between the electronic device
mit and/or receive data over a network. Computer systems         45            and the mobile computer device, the credential data
and computer-based devices disclosed herein may include                        for the infrastructure wireless network stored by the
memory for storing certain software modules or engines                         one or more host servers; and
used in obtaining, processing, and communicating informa-                   the electronic device is for, upon receiving the creden-
tion. It can be appreciated that such memory may be internal                   tial data for the infrastructure wireless network from
or external with respect to operation of the disclosed           50            the mobile computing device, connecting to the
embodiments. The memory may also include any means for                         wireless access point via the infrastructure wireless
storing software, including a hard disk, an optical disk,                      network using the credential data received from the
floppy disk, ROM (read only memory), RAM (random                               mobile computer device.
access memory), PROM (programmable ROM), EEPROM                          2. The system of claim 1, further comprising a remote
(electrically erasable PROM) and/or other computer-read-         55   network server, wherein the after connecting to the wireless
able media. The software modules and engines described                access point, the electronic device is for receiving control
herein can be executed by the processor (or processors as the         data from the remote network server.
case may be) of the computer devices that access the                     3. The system of claim 1, wherein the electronic device
memory storing the modules.                                           comprises a lighting system.
   In various embodiments disclosed herein, a single com-        60      4. The system of claim 1, wherein the electronic device
ponent may be replaced by multiple components and mul-                comprises a camera.
tiple components may be replaced by a single component to                5. The system of claim 1, wherein the electronic device
perform a given function or functions. Except where such              comprises a medical device.
substitution would not be operative, such substitution is                6. The system of claim 1, wherein the electronic device
within the intended scope of the embodiments. Any servers        65   comprises a gaming system.
described herein, for example, may be replaced by a "server              7. The system of claim 1, wherein the electronic device
farm" or other grouping of networked servers ( such as server         comprises acoustic speaker device.
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                              9                                                                 10
  8. The system of claim 7, wherein the acoustic speaker              18. A system comprising:
device comprises a set of earphones.                                 an electronic device;
   9. The system of claim 7, wherein:                                a mobile computer device that is in communication with
   the system further comprises a remote network server;                the electronic device via an ad hoc wireless communi-
      and                                                        5      cation link; and
   the acoustic speaker device is further for:                       one or more host servers that are in communication with
      after connecting to the wireless access point, streaming          the mobile computer device via the Internet, wherein
         audio content from the remote network server via the           the one or more host servers receive and store creden-
         infrastructure wireless network; and                           tial data for an infrastructure wireless network provided
      playing the audio content streamed from the remote 10
                                                                        by a wireless access point,
         network server, such that the acoustic speaker device
                                                                     wherein:
         is enabled to play audio streamed via the infrastruc-
                                                                        the mobile computer device is for transmitting to the
         ture wireless network.
   10. The system of claim 1, wherein:
                                                                           electronic device, wirelessly via the ad hoc wireless
   the system further comprises a remote network server; 15                communication link between the electronic device
      and                                                                  and the mobile computer device, the credential data
   the electronic device comprises a video player that is                  for the infrastructure wireless network stored by the
      further for:                                                         one or more host servers; and
      after connecting to the wireless access point, streaming          the electronic device is for, upon receiving the creden-
         video content from the remote network server via the 20           tial data for the infrastructure wireless network from
         infrastructure wireless network; and                              the mobile computing device, connecting to the
      playing the video content streamed from the remote                   wireless access point via the infrastructure wireless
         network server, such that the video player is enabled             network using the credential data received from the
         to play video streamed via the infrastructure wireless            mobile computer device.
         network.                                               25    19. The system of claim 18, wherein the one or more host
   11. The system of claim 1, wherein the mobile computer          servers host a website through which, via the mobile com-
device comprises a smartphone, and wherein the smartphone          puter device, a user of the electronic device specifies the
comprises a radio module for communicating wirelessly via          credential data for the infrastructure wireless network, such
the ad hoc wireless network with the electronic device.            that the one or more host servers receive and store the
   12. The system of claim 1, wherein:                          30
                                                                   credential data, and such that the credential data are stored
   the infrastructure wireless network comprises an infra-
                                                                   by the one or more host servers for an account associated
      structure Wi-Fi network; and
                                                                   with the user.
   the credential data for the infrastructure Wi-Fi network
                                                                     20. The system of claim 19, wherein:
      comprises an identifier for the infrastructure Wi-Fi
      network.                                                  35
                                                                     the  infrastructure wireless network comprises an infra-
                                                                        structure Wi-Fi network;
   13. The system of claim 12, wherein the credential data
                                                                     the credential data for the infrastructure Wi-Fi network
for the infrastructure Wi-Fi network additionally comprises
a password for the infrastructure Wi-Fi network.                        comprises:
                                                                        an identifier for the infrastructure Wi-Fi network; and
   14. The system of claim 13, wherein the credential data
for the infrastructure Wi-Fi network additionally comprises 40          a password for the infrastructure Wi-Fi network; and
encryption type data for the infrastructure Wi-Fi network.           the   electronic device comprises an electronic device
   15. The system of claim 12, wherein the ad hoc wireless              selected from the group consisting of:
network comprises a Bluetooth wireless network.                         an acoustic speaker;
   16. The system of claim 12, wherein the ad hoc wireless              a video player;
network comprises an ad hoc WiFi wireless network.              45
                                                                        a lighting system;
   17. The system of claim 1, wherein the one or more host
                                                                        a camera;
servers host a website through which, via the mobile com-               a medical device; and
puter device, a user of the electronic device specifies the             a gaming system.
                                                                     21. The system of claim 18, further comprising a remote
credential data for the infrastructure wireless network, such
that the one or more host servers receive and store the 50 network server, wherein the after connecting to the wireless
credential data, and such that the credential data are stored      access point, the electronic device is for receiving control
by the one or more host servers for an account associated          data from the remote network server.
with the user.                                                                             * * * * *
